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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

   RESHMA ABELL,                                       :
                                                       :   Civil Action No.:
                          Plaintiff,                   :   2:18-cv-16509 (MCA) (AME)
                                                       :
                          v.                           :
                                                       :   DECLARATION OF JAMES J. PANZINI IN
   PACIRA PHARMACEUTICALS, INC.,                       :   SUPPORT OF DEFENDANTS’ REPLY BRIEF
   DAVE STACK, individually and in his                 :
   capacity as Chief Executive Officer of              :
   PACIRA PHARMACEUTICALS, INC.,                       :
   and RICH KAHR, PETER MURPHY,                        :
   DENNIS       McLOUGHLIN,        PAUL                :
   CIAVOLELLA, GLENN REISER, JOYCE                     :
   DAVIS AND MATT LEHMANN, in their                    :
   capacities as employees of PACIRA                   :
   PHARMACEUTICALS, INC.,                              :
                                                       :
                          Defendants.                  :

                 James J. Panzini, of full age, declares as follows:

                 1.      I am an attorney at law in the State of New Jersey and a principal with the

  law firm of Jackson Lewis P.C. I am one of the attorneys charged with the responsibility of

  defending this matter on behalf of Defendants Pacira Pharmaceuticals, Inc. (“Pacira” or “the

  Company”), Richard Kahr, Peter Murphy, and Glenn Reiser (collectively as “Defendants”), and I

  am fully familiar with the facts set forth herein.
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                    2.     I make this Declaration in further support of Defendants’ motion for

  summary judgment dismissing the Complaint of Plaintiff Reshma Abell (“Plaintiff”), in its

  entirety, with prejudice, as a matter of law and based on the undisputed material facts in the record.

  In particular, I make this Declaration to place before the Court certain materials necessary for the

  resolution of Defendant’s summary judgment motion as part of Defendants’ reply brief.

                    3.     A true and correct copy of additional excerpts of Plaintiff Reshma Abell’s

  deposition transcript cited in Defendants’ Reply Statement of Facts (“Defendants’ Reply Statement

  of Facts”) which is being filed contemporaneously herewith, is attached hereto as Exhibit 22.

                    4.     A true and correct copy of additional excerpts of Richard Kahr’s deposition

  transcript cited in Defendants’ Reply Statement of Facts is attached hereto as Exhibit 23.

                    5.     A true and correct copy of additional excerpts of Seth Whaley’s deposition

  transcript cited in Defendants’ Reply Statement of Facts is attached hereto as Exhibit 24.

                    I declare that the foregoing statements made by me are true. I am aware that if any

  of the foregoing statements made by me are willfully false, I am subject to punishment.



                                                  /s/ James J. Panzini
                                                  James J. Panzini
  Date: August 9, 2021
  4845-9052-7221, v. 1




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